                                UNITED STATES BANKRUPTCY COURT
                                 EASTERN DISTRICT OF MICHIGAN
                                       SOUTHERN DIVISION


        In re:                                                     )
                                                                   )        Case No. 09-51720-MBM
        NOBLE INTERNATIONAL, LTD., et al., 1                       )        Chapter 11
                                                                   )        (Jointly Administered)
                                                                   )
                                 Debtors.                          )        Honorable Marci B. McIvor

        ORDER AUTHORIZING THE SALE OF ASSETS ASSOCIATED
WITH THE DEBTORS’ LASER WELDING EQUIPMENT AND MACHINERY CLEAR
          OF LIENS, CLAIMS, INTERESTS AND ENCUMBRANCES

        Upon consideration of the motion of the Debtors, by and through their undersigned

counsel, For An Order Authorizing the Sale of Assets Associated with the Debtors’ Laser

Welding Equipment and Machinery Free and Clear of Liens, Claims, Interests and

Encumbrances; (the “Motion”). pursuant to sections 105(a), and 363 the Bankruptcy Code, rules

2002, and 6004 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), and

Local Rule 6004-1 of Bankruptcy Practice and Procedure for the United States Bankruptcy Court

for the Eastern District of Michigan; and the Court having jurisdiction to consider the Motion

and the relief requested therein pursuant to 28 U.S.C §§ 157 and 1334; and hearing to consider

the Motion and the transaction contemplated therein (the “Hearing”) having been conducted; and

due and proper notice of the Motion and the Hearing having been provided to all parties entitled

thereto; and the Court having determined that the relief sought in the Motion represents the


        1
           The Debtors in the cases include: Noble International, Ltd. (“Noble”); Noble Advanced Technologies,
Inc., Case No. 09-51730; Noble Land Holdings, Inc., Case No. 09-51732; Noble Manufacturing Group, Inc., Case
No. 09-51734; Noble Metal Processing – Kentucky, G.P., Case No. 09-51735; Noble Metal Processing, Inc., Case
No. 09-51737; Noble Metal Processing – Indiana, Inc., Case No. 09-51738; Noble Metal Processing – New York,
Inc., Case No. 09-51741; Noble Metal Processing – Ohio, LLC, Case No. 09-51742; Noble Metal Processing – West
Michigan, Inc., Case No. 09-51744; Noble Swiss Holdings, LLC, Case No. 09-51745; Noble TSA, LLC, Case No.
09-51746; Noble Tube Technologies, LLC, Case No. 09-51748; Prototech Laser Welding, Inc. (d/b/a LWI Laser
Welding International), Case No. 09-51751; and Tailor Steel America, LLC, Case No. 09-51752.



                                                      1
09-51720-mbm          Doc 491       Filed 06/30/09        Entered 07/01/09 09:15:54          Page 1 of 10
sound exercise of the Debtors’ business judgment and is in the best interests of the Debtors, their

estate, and all parties-in-interest; and upon the Motion and all of the proceedings had before the

Court; and good and sufficient cause appearing therefore;


        IT IS HEREBY FOUND AND DETERMINED:
                                                  General
        A.      The Court has jurisdiction to consider the Motion and the relief requested therein

pursuant to 28 U.S.C. §§ 157 and 1334. The Motion is a core proceeding under 28 U.S.C.

§157(b)(2)(A), (N) and (O). Venue is proper in this Court under 28 U.S.C. §§ 1408 and 1409.

        B.      The statutory predicates for the relief sough in the Motion are section 105(a),

363(b), (f) and (m) of the Bankruptcy Code and Bankruptcy Rules 2002, 6004, and 9014.

        C.      Notwithstanding bankruptcy Rules 6004(h), the Court finds that there is no just

reason for delay in the implementation of this Order and expressly directs entry of judgment as

set forth herein.

        D.      The Debtors have satisfied the disclosure requirements for the sale motions as set

forth in Local Bankruptcy Rule 6004-1.

        E.      As evidenced by the certificate(s) of service filed with the Court and based on the

representations of counsel at the hearing, (i) proper, timely, adequate, and sufficient notice of the

Motion, and the Hearing has been provided in accordance with sections 105 and 363 of the

Bankruptcy Code and Bankruptcy Rules 2002(a), and 6004 and; (ii) such notice as good and

sufficient and appropriate under the particular circumstances; and (iii) no other or further notice

of the Motion, the transactions contemplated therein or the Hearing is required.

        F.      A reasonable opportunity to object or be heard with respect to the Motion and the

relief requested therein has been afforded to all interested persons and entities, including, but not




                                                  2
09-51720-mbm         Doc 491     Filed 06/30/09       Entered 07/01/09 09:15:54       Page 2 of 10
limited to (i) the Office of the United States Trustee; (ii) counsel for the Debtors; (iii) counsel to

the Creditors’ Committee appointed in the Debtors bankruptcy cases; (iv) all known persons

holding any lien, claim, encumbrance or other interest in, to or against any of the Assets; (v) all

applicable federal, state and local taxing authorities; (vi) all applicable federal, state and local

governmental bodies; and (vii) all entities who have filed a notice of appearance and request for

service of papers in the Debtors’ bankruptcy cases pursuant to Bankruptcy Rule 2002. The

Unsecured Creditors’ Committee has approved the terms of this Order.


                                      The Bankruptcy Case

       G.      On April 15, 2009 (the “Petition Date”), each of the Debtors filed a voluntary

petition for relief under chapter 11 of title 11 of the United States Bankruptcy Code, 11 U.S.C.

§§ 101 et seq. (the “Bankruptcy Code”). The Debtors continue to operate their business and

manage their properties as debtors in possession under sections 1107(a) and 1108 of the

Bankruptcy Code.

       H.       The Assets are property of the Debtors’ estates and title thereto is vested n the

Debtor’s estates.

                                 The Sale of the Assets to Buyer

       I.      A description of the Assets for which the Debtors have received offers are

contained as Exhibit B to the Motion.          Additionally, there is certain other laser welding

equipment and machinery for which no written offer has been received, but which will be sold.

       J.      The sale of the Assets shall be free and clear of all liens, claims, interests, and

other encumbrances within the meaning of section 363(f) of the Bankruptcy Code (collectively,

“Liens”); provided, however, that all Liens (in the same priority as exist pre-closing) will attach

to the proceeds of the sale.



                                                  3
09-51720-mbm         Doc 491     Filed 06/30/09       Entered 07/01/09 09:15:54       Page 3 of 10
         K.     The transactions contemplated by the Motion will, upon consummation thereof

(the “Closing”), (i) be a legal, valid, and effective transfer of the Assets to a buyer with no

further action required on the part of the Debtors or their respective affiliates and (ii) vest the

buyers with good title to the Purchase Assets free and clear of all liens within the meaning of

363(f) of the Bankruptcy Code.

         L.     The potential buyers will not purchase the Assets (thus adversely affecting the

bankruptcy estates and their creditors) if the sale of the Assets were not free and clear of all

Liens.

         M.     The relief sought in the Motion is in the best interest of the Debtors, their estate,

and all parties-in-interest.

         N.     The Debtors have demonstrated (i) good, sufficient, and sound business purpose

and justification for the relief sought in the Motion, including the necessity for conducting a sale

of the Assets without a formal auction process and (ii) compelling circumstances for the sale

pursuant to section 363(b) of the Bankruptcy Code.

         O.     The relief sought by the Motion is not sought for the purpose of hindering,

delaying, or defrauding the Debtors’ creditors.

         P.     The relief sought in the Motion is in the best interests of the Debtors, their

bankruptcy estates, creditors, and all parties in interest.

         Q.     Upon entry of this Order, the Debtors have all the corporate or organizational

power and authority necessary to consummate the transactions contemplated by the Motion.

         R.     Except as otherwise provided in this Order, no consents or approvals, other than

this Order are required for the Debtors to consummate the transactions contemplated by the

Motion.




                                                   4
09-51720-mbm         Doc 491      Filed 06/30/09       Entered 07/01/09 09:15:54      Page 4 of 10
        S.      The Debtors have demonstrated good, sound, and sufficient business purpose and

justification, and it is reasonable exercise of their business judgment to sell the Assets, and the

sale is in the best interests of the Debtors, their estates and their creditors.

        T.      The provisions of section 363 of the Bankruptcy Code have been complied with

and are applicable to the sale of the Assets.

        U.      The Debtors may consummate the transactions and transfer the Assets free and

clear of all Liens of any kind or nature whatsoever, because one or more of the standards set

forth in section 363(f)(1)-(5) of the Bankruptcy Code has been satisfied. All parties with Liens

of any kind or nature whatsoever in or on the Assets, except as expressly permitted by the

Agreement, who did not object to the Motion and the relief requested therein, or who withdrew

their objections to the transactions, are deemed to have consented pursuant to sections 363(f)(2)

of the Bankruptcy Code. All parties with Liens of any kind or nature whatsoever in the Assets,

who did object to the Motion and the relief requested therein fall within one or more of the other

subsections of 363(f) of the Bankruptcy Code and are adequately protected by having their Liens

attach to the net proceeds of the transactions with the same validity, enforceability, priority, force

and effect that they now have as against Assets, subject to the rights, claims, defenses, and

objections, if any, of the Debtors and all parties in interest with respect to such Liens.

        V.      Consummation of the transactions will not subject any potential buyer to any

debts, liabilities, obligations, commitments, responsibilities, or claims of any kind or nature

whatsoever, whether known or unknown, contingent or otherwise, existing as of the date hereof

or hereafter arising, of or against the Debtors, any affiliate of the Debtors, or any other person by

reason of such transfers and assignments, including, without limitation, based on any theory of

antitrust or successor or transferee liability.




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09-51720-mbm         Doc 491      Filed 06/30/09        Entered 07/01/09 09:15:54      Page 5 of 10
       ACCORDINGLY, THE COURT HEREBY ORDERS THAT:

                                       General Provisions

       1.      The findings of fact entered above and the conclusions of law stated herein shall

constitute the Court’s findings of fact and conclusions of law to Bankruptcy Rule 7052, made

applicable to this proceeding pursuant to Bankruptcy Rule 9014. To that extent that any finding

of fact shall later be determined to be a conclusion of law, it shall be so deemed, and to the extent

that any conclusion of law shall later be determined to be a finding of fact, it shall be so deemed.

       2.      The Motion is granted in all respects, subject to the terms of this Order. To the

extent of an inconsistency between the terms of this Order and the terms of the Motion, the terms

of this Order shall control.

       3.      All objections to the Motion or the relief requested therein that have not been

withdrawn, waived, or settled, and all reservations of rights included therein, are overruled.

Those parties who did not object, or who withdrew their objections to the Motion, are deemed to

have consented to section 363(f)(2) of the Bankruptcy Code.

                                   Approval of the Transfer of Assets

       4.      The approval of the sale of the Assets by the Debtors is hereby approved pursuant

to sections 105(a), 363(b) and (f) of the Bankruptcy Code, subject to the following procedure:

            a. The Debtors shall provide Committee counsel with the documentation applicable

       to any proposed asset sale (such as an offer, letter of intent or other writing), together

       with evidence of consent to the sale by the customers (“Customers”) of the Debtors. The

       Debtors shall also provide Committee counsel with the appraised value of the assets

       proposed to be sold, to the extent an appraisal has been made of such assets or a portion

       thereof.




                                                  6
09-51720-mbm         Doc 491     Filed 06/30/09       Entered 07/01/09 09:15:54       Page 6 of 10
              b. The Committee shall have no right to challenge any sale that has been approved

         by the Customers and which provides for a sale equal to or greater than orderly

         liquidation value (“OLV”) of such assets, per the appraisal. .

              c.    If any sale has not been approved by the Customers or is for a value less than

         OLV (or if no OLV is available), then the Committee shall have the right to file a

         pleading with the Court challenging the sale, but only after the Committee has attempted

         to resolve its objection with the Debtors on a good faith basis. The Debtors and the

         Committee agree that any such objection should be heard on an expedited basis.

              d. The Committee reserves it rights with respect to any pleadings filed relating to the

         proposed auction process for those assets not subject to the proposed private sales.

         5.        The Debtors are authorized and directed, pursuant to sections 105(a), and 363(b)

of the Bankruptcy Code, to execute such documents and take such actions as are necessary to

effectuate the transition contemplated by the Motion.

         6.        The sale of the Assets, pursuant to this Order, will vest a buyer with good title to

the Assets and will be a legal, valued and effective transfer of the Assets free and clear of all

Liens.

         7.        Pursuant to sections 105(a), and 363(f) Bankruptcy Code, the Assets shall be sold,

transferred or otherwise conveyed to a potential buyer free and clear of all Liens, with all such

Liens to attach to the proceeds of the Assets in the order of their priority, and with the same

validity, priority, force and effect which they now have against the Assets, subject to the rights,

claims, defenses, and objections, if any of the Debtors and all parties in interest with respect to

such Liens.




                                                     7
09-51720-mbm            Doc 491     Filed 06/30/09       Entered 07/01/09 09:15:54      Page 7 of 10
        8.      All persons or entities holding Liens in, to or against the Assets shall be, and there

hereby are, forever barred from asserting such Liens against a buyer, its successors and assigns

of the Assets after the sale and closing of the sale of the Assets.

        9.      To the fullest extent permitted by applicable law, pursuant to section 1146(a) of

the Bankruptcy Code, the sale transaction contemplated by the Motion is exempt from state and

local transfer taxes.

        10.     No person shall take any action to prevent, interfere with or otherwise enjoin

consummation of the transaction contemplated by the Motion.

                                         Miscellaneous Provisions

        11.     The Sale of the Assets qualifies as “good faith” within the meaning of section

363(m) of the Bankruptcy Code, and any potential buyer is a “good faith” buyer for the purposes

of such section.

        12.     All persons or entities holding Liens in, to or against the Assets shall be, and they

hereby are, forever barred from asserting such Liens against Buyer, it successors and assigns or

the Assets after the sale and closing of the Assets.

        13.     If any person or entity that has filed financing statement, mortgages, mechanic’s

liens, lis pendens, or other documents or agreements evidencing Liens or claims against or in the

Assets shall not have delivered to the Debtors prior to the sale of the Assets and closing of the

sale, in proper form for filing and executed by the appropriate parties, termination statements,

instruments of satisfactions, releases of all interests or claims that the person or entity has with

respect to the Assets, then (a) the Debtors are hereby authorized and directed to execute and file

such statements, instruments, releases and other documents on behalf of the person or entity with

respect to the Assets and (b) any potential buyer is hereby authorized to file, register or otherwise




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09-51720-mbm            Doc 491   Filed 06/30/09       Entered 07/01/09 09:15:54      Page 8 of 10
record a certified copy of this Order, which, once filed, registered or otherwise recorded, shall

constitute conclusive evidence of the release of all Liens or claims in the Assets of any kind or

nature.

          14.   In absence of a stay of the effectiveness of this Order, in the event that any

potential buyer and the Debtors consummate the transactions contemplated by the Motion at any

time after entry of this Order, then with respect to the transactions approved and authorized

herein, any potential buyer, as buyer in good faith within the meaning of section 363(m) of the

Bankruptcy Code, shall be entitled to all of the protections of sections 363(m) of the Bankruptcy

Code in the event this Order or any authorization contained herein is reversed or modified on

appeal.

          15.   Any conflict between the terms and provisions of this Order and an agreement for

the sale of the Assets shall be resolved in favor of this Order.

          16.   The provision of Bankruptcy Rules 6004(h) is hereby waived. This order shall

not be stayed for 10 days after its entry but shall be and hereby is effective immediately upon

entry, and the Debtors and the Buyer are authorized to close a sale upon entry of this Order.

Time is of the essence in closing the sale transactions contemplated in the Motion and the parties

to any such transaction shall be authorized to close the sale as soon as possible.



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Signed on June 30, 2009

                                                      ____ __/s/ Marci B. McIvor_            ___

                                                          Marci B. McIvor

                                                          United States Bankruptcy Judge




                                                  9
09-51720-mbm        Doc 491      Filed 06/30/09       Entered 07/01/09 09:15:54      Page 9 of 10
                                          10
09-51720-mbm   Doc 491   Filed 06/30/09        Entered 07/01/09 09:15:54   Page 10 of 10
